Case: 1:22-cv-01179 Document #: 1-1 Filed: 03/04/22 Page 1 of 35 PageID #:10




                         EXHIBIT 1
                        Case: 1:22-cv-01179 Document #: 1-1 Filed: 03/04/22 Page 2 of 35 PageID #:11



Corporate Creations Network Inc.
801 US Highway 1 North Palm Beach, FL 33408

                   PetSmart LLC                                                                                                                      02/03/2022
                   Suzanne Grant Paralegal
                   PetSmart LLC
                   19601 North 27th Avenue
                   Phoenix AZ 85027



SERVICE OF PROCESS NOTICE
The following is a courtesy summary of the enclosed document(s). ALL information should be verified by you.                                                            Item: 2022-87
Note: Any questions regarding the substance of the matter described below, including the status or how to respond, should be
directed to the contact set forth in line 12 below or to the court or government agency where the matter is being heard. IMPORTANT:
All changes or updates to the SOP contact individuals or their contact information must be submitted in writing to
SOPcontact@corpcreations.com. Any changes will become effective upon written confirmation of Corporate Creations.


 1.                           Entity Served:             PetSmart LLC

 2.                          Title of Action:            Steven Stegmann, Individually and on behalf of all other similarly situated vs. Petsmart LLC, et al.

 3.                Document(s) Served:                   Notice and Acknowledgment of Receipt of Summons and Complaint
                                                         Summons
                                                         Class Action Complaint
                                                         Plaintiff's Motion for Class Certification

 4.                           Court/Agency:              LaSalle County 13th Judicial Circuit Court

 5.                            State Served:             Illinois

 6.                           Case Number:               2022LA000009

 7.                               Case Type:             Violation of 740 ILCS 14/1, et seq

 8.                    Method of Service:                Regular Mail

 9.                          Date Received:              Wednesday 02/02/2022

 10.                          Date to Client:            Thursday 02/03/2022

 11.         # Days When Answer Due:                     30                                     CAUTION: Client is solely responsible for verifying the accuracy of the estimated Answer Due
                     Answer Due Date:                    Friday 03/04/2022                      Date. To avoid missing a crucial deadline, we recommend immediately confirming in writing
                                                                                                with opposing counsel that the date of the service in their records matches the Date Received.

 12.                             Sop Sender:             David Fish
               (Name, City, State, and Phone Number)
                                                         Naperville, IL
                                                         312-861-1800

 13.              Shipped To Client By:                  Regular Mail and Email with PDF Link

 14.                    Tracking Number:

 15.                             Handled By:             141

 16.                                      Notes:         Please note that the original document contains images, as a courtesy the original is being sent to your
                                                         attention by regular mail.
                                                         Also Attached:
                                                         * Notice of Motion
NOTE: This notice and the information above is provided for general informational purposes only and should not be considered a legal opinion. The client and their legal
counsel are solely responsible for reviewing the service of process and verifying the accuracy of all information. At Corporate Creations, we take pride in developing systems
that effectively manage risk so our clients feel comfortable with the reliability of our service. We always deliver service of process so our clients avoid the risk of a default
judgment. As registered agent, our role is to receive and forward service of process. To decrease risk for our clients, it is not our role to determine the merits of whether service
of process is valid and effective. It is the role of legal counsel to assess whether service of process is invalid or defective. Registered agent services are provided by Corporate
Creations Network Inc.
                                                       801 US Highway 1 North Palm Beach, FL 33408 Tel: (561) 694-8107 Fax: (561) 694-1639
                                                                                   www.CorporateCreations.com
 Case: 1:22-cv-01179 Document #: 1-1 Filed: 03/04/22 Page 3 of 35 PageID #:12




Notice and Acknowledgment of
Receipt of Summons and Complaint
                  IN THE CIRCUIT COURT OF THE 13TH JUDICIAL CIRCUIT
                             LASALLE COUNTY, ILLINOIS
STEVEN STEGMANN individually
and on behalf of all others similarly situated


                               vs.
                                                  Plaintiff(s)      Case No.     1.2              g
PETSMART LLC

and HONEYWELL INTERNATIONAL,
                                           INCDefendant(s)
(Respondent in Discovery )

        NOTICE AND ACKNOWLEDGMENT OF RECEIPT OF SUMMONS AND
                            COMPLAINT
     PETSMART LLC

To: do Corporate Creations Network                              Address: 305 S. Northwest Highway, #300
                       (Name)
City: Park Ridge                                                                     IL   Zip: 60068
                                                                            State:
The enclosed summons and complaint are served pursuant to section 2--213 of the Code of Civil
Procedure.
You must complete the acknowledgment part of this form and return one copy of the completed

form to the sender within               30            * days.
You must sign and date the acknowledgment. If you are served on behalf of a corporation,
unincorporated association (including a partnership), or other entity, you must indicate under your
signature your relationship to that entity. If you are served on behalf of another person and you are
authorized to receive process, you must indicate under your signature your authority.

If you do not complete and return the form to the sender within  30       * days, you (or the
party on whose behalf you are being served) may be served a summons and complaint in any other
manner permitted by law

If you do complete and return this form, you (or the party on whose behalf you are being served)

must answer the complaint within                 60             ** days. If you fail to do so, judgment by default
will be taken against you for the relief demanded in the complaint.
I declare, under penalty of perjury; that this notice and acknowledgment of receipt of summons and

complaint will have been mailed on 01/21/2022


                                                            Page I of 2
    Case: 1:22-cv-01179 Document #: 1-1 Filed: 03/04/22 Page 4 of 35 PageID #:13

Notice and Acknowledgment of
Receipt of Summons and Complaint

E-filing is now mandatory for documents in civil cases with limited exemptions. To
e-file, you must first create an account with an e-filing service provider. Visit http://efile.
illinoiscourts.gov/service-providers.htm to learn more and to select a service provider. If
you need additional help or have trouble e-filing, visit http://www.illinoiscourts.gov/FAQ/
gethelp.asp.




          ACKNOWLEDGMENT OF RECEIPT OF SUMMONS AND COMPLAINT

I declare, under penalty of perjury, that I received a copy of the summons and of the complaint in
the above captioned matter at:
(Please print or type)
Name:
Address:
City:                                               State:            Zip:
Email:
Relationship to Entity/Authority to Receive Service of Process:
(Not applicable if your are the named Defendant or Respondent.)

                                                               Dated:


                                                                                      Signature




*    (To be completed by the person sending the notice.) Date for return of waiver must be at least 30 days from the date
     on which the request is sent, or 60 days if the defendant is addressed outside the United States.
** (To be completed by the person sending the notice.) Date for answering complaint must be at least 60 days from the
   date on which the request is sent, or 90 days if the defendant is addressed outside the United States.




                                                        Page 2 of 2
 Case: 1:22-cv-01179 Document #: 1-1 Filed: 03/04/22 Page 5 of 35 PageID #:14




Notice and Acknowledgment of
Receipt of Summons and Complaint
                           IN THE CIRCUIT COURT OF THE 13TH JUDICIAL CIRCUIT
                                     LASALLE COUNTY, ILLINOIS
STEVEN STEGMANN individually
and on behalf of all others similarly situated


                              vs.
                                                 Plaintiff(s)       Case No.      2:2 u4
PETSMART LLC


and HONEYWELL INTERNATIONAL,
                                           INCDefendant(s)
(Respondent in Discovery )

         NOTICE AND ACKNOWLEDGMENT OF RECEIPT OF SUMMONS AND
                             COMPLAINT
     PETSMART LLC

To: c/o Corporate Creations Network                         Address: 305 S. Northwest Highway, #300
                          (Name)

City: Park Ridge                                                                  IL
                                                                         State:        Zip: 60068
The enclosed summons and complaint are served pursuant to section 2--213 of the Code of Civil
Procedure.
You must complete the acknowledgment part of this form and return one copy of the completed

form to the sender within               30        * days.
You must sign and date the acknowledgment. If you are served on behalf of a corporation,
unincorporated association (including a partnership), or other entity, you must indicate under your
signature your relationship to that entity. If you are served on behalf of another person and you are
authorized to receive process, you must indicate under your signature your authority.

If you do not complete and return the form to the sender within  30       * days, you (or the
party on whose behalf you are being served) may be served a summons and complaint in any other
manner permitted by law

If you do complete and return this form, you (or the party on whose behalf you are being served)

must answer the complaint within                 60         ** days. If you fail to do so, judgment by default
will be taken against you for the relief demanded in the complaint.
I declare, under penalty of perjury, that this notice and acknowledgment of receipt of summons and

complaint will have been mailed on 01/21/2022
                                                                •


                                                         Page 1 of 2
  Case: 1:22-cv-01179 Document #: 1-1 Filed: 03/04/22 Page 6 of 35 PageID #:15

Notice and Acknowledgment of
Receipt of Summons and Complaint

E-filing is now mandatory for documents in civil cases with limited exemptions. To
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illinoiscourts.gov/service-providers.htm to learn more and to select a service provider. If
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gethelp.asp.




         ACKNOWLEDGMENT OF RECEIPT OF SUMMONS AND COMPLAINT

I declare, under penalty of perjury, that I received a copy of the summons and of the complaint in
the above captioned matter at:
(Please print or type)
Name:
Address:
City:                                              State:            Zip:
Email:
Relationship to Entity/Authority to Receive Service of Process:
(Not applicable if your are the named Defendant or Respondent.)

                                                              Dated:


                                                                                     Signature




    (To be completed by the person sending the notice.) Date for return of waiver must be at least 30 days from the date
    on which the request is sent, or 60 days if the defendant is addressed outside the United States.
** (To be completed by the person sending the notice.) Date for answering complaint must be at least 60 days from the
   date on which the request is sent, or 90 days if the defendant is addressed outside the United States.




                                                       Page 2 of 2
           Case: 1:22-cv-01179 Document #: 1-1 Filed: 03/04/22 Page 7 of 35 PageID #:16
30 Day Summons (7/2018)
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                             UNITED STATES OF AMERICA                                                                         P.A orrtip ( tan sr   ount
                                                                                                                                    isWNT`f
                       STATE OF ILLINOIS      COUNTY OF LASALLE
                 IN THE CIRCUIT COURT OF THE 13TH JUDICIAL CIRCUIT

STEVEN STEGMANN, individually and on
behalf of all others similarly situated
                                 vs.
                                                                                               2022LA000009
                                                                               Case No.
PETSMART LLC


and HONEYWELL INTERNATIONAL, INC
                  (Respondent in Discovery)       SUMMONS
                                 Petsmart
TO THE DEFENDANT: do Corporate Creations Network, 350 S. Northwest Highway., #300, Park Ride, IL 60068
YOU ARE HEREBY SUMMONED and required to file an answer in this case, or otherwise file your
appearance, in the office of the Clerk of this court, Room 201, 119 W. Madison Street, Ottawa, Illinois,
within 30 days after service of this summons, not counting the day of service. IF YOU FAIL TO DO SO,
A JUDGMENT OR DECREE BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF
ASKED IN THE COMPLAINT.

E-filing is now mandatory for documents in civil cases with limited exemptions. To e-file, you must first create an
account with an e-filing service provider. Visit http://efile.illinoiscourts.gov/service-providers.htm to learn more and
to select a service provider. If you need additional help or have trouble e-filing, visit http://www.illinoiscourts.gov/
FAQ/gethelp.asp or talk with your local Circuit Clerk's office.

TO THE OFFICER:
This summons must be returned by the officer or other person to whom it was given for service, with
endorsement of service and fees, if any, immediately after service. If service cannot be made, this summons
shall be returned so endorsed. This summons may not be served later than 30 days after its date.
                                                                              1/20/2022

                                                                                                               KB

Name FISH POTER BOLA&OS, P.C.                                                   "C        R( of Court
                                                                                                                                 Il  li ilti i I i,,
                                                                                                                                 -'.,liall
Attorney for Plaintiffs                                                                   (Seal of Court)
Address 200 E. 5th Avenue, Suite 123
City Naperville, IL 60563
Telephone 312-861-1800

                                                              Date of Service
                                                                 (To be inserted by officer on copy left with defendant or other person)




                                       LASALLE COUNTY CIRCUIT CLERK
                                           OTTAWA, ILLINOIS 61350
      Case: 1:22-cv-01179 Document #: 1-1 Filed: 03/04/22 Page 8 of 35 PageID #:17

                                               SHERIFF'S FEES

                         Service and return

                         Miles

                         Total




                                                                 Sheriff of                              County

I certify that I served this summons on defendants as follows:

                                 (Check appropriate box, and complete information below)


      (a)--Individual defendants--personal):
           By leaving a copy and a copy of the complaint with each individual defendant personally.

      (b)--(Individual defendants--abode):
           By leaving a copy and a copy of the complaint at the usual place of abode of each individual
           defendant with a person of the family or a person residing there, of the age 13 years or
           upwards, informing that person of the contents and also by sending a copy of the summons
           in a sealed envelope with postage fully prepaid, addressed to each individual defendant at
           his/her usual place of abode.

      (c)--(Corporation defendants):
           By leaving a copy and a copy of the complaint with the registered agent, officer or agent
           of each defendant corporation.

      (d)--(Other service):



Name of Defendant                                              Name of Defendant

Name of Person                                                 Name of Person
Summons Given to                                               Summons Given to

Sex           Race            Approx. Age                      Sex             Race        Approx. Age

Place of Service                                               Place of Service




Date of Service                     Time                       Date of Service                 Time

Date of Mailing                                                Date of Mailing
           Case: 1:22-cv-01179 Document #: 1-1 Filed: 03/04/22 Page 9 of 35 PageID #:18
10 Day Summons (7/2018)                                                                                                    FILED
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                             UNITED STATES OF AMERICA                                                                       I FRE OrtlIF rill CI FT I OUR1
                                                                                                                           IASALIS COUNT ILLINOW

                       STATE OF ILLINOIS      COUNTY OF LASALLE
                 IN THE CIRCUIT COURT OF THE 13TH JUDICIAL CIRCUIT

STEVEN STEGMANN, individually and on
behalf of all others similarly situated
                                 vs.
                                                                                                2022LA000009
                                                                               Case No.
PETSMART LLC


and HONEYWELL INTERNATIONAL, INC
                  (Respondent in Discovery)       SUMMONS
                                 Petsmart
TO THE DEFENDANT: c/o Corporate Creations Network, 350 S. Northwest Highway., #300, Park Ride, IL 60068
YOU ARE HEREBY SUMMONED and required to file an answer in this case, or otherwise file your
appearance, in the office of the Clerk of this court, Room 201, 119 W. Madison Street, Ottawa, Illinois,
within 30 days after service of this summons, not counting the day of service. IF YOU FAIL TO DO SO,
A JUDGMENT OR DECREE BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF
ASKED IN THE COMPLAINT.

E-filing is now mandatory for documents in civil cases with limited exemptions. To e-file, you must first create an
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TO THE OFFICER:
This summons must be returned by the officer or other person to whom it was given for service, with
endorsement of service and fees, if any, immediately after service. If service cannot be made, this summons
shall be returned so endorsed. This summons may not be served later than 30 days after its date.
                                                                                             1/20/2022
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                                                                                                                                                 ,
                                                                                                                KB

Name FISH POTER BOLASIOS, P.C.
                                                                                 --exceti
                                                                                          Clerk of Court
Attorney for Plaintiffs                                                                   (Seal of Court)
Address 200 E. 5th Avenue, Suite 123
City Naperville, IL 60563
Telephone 312-861-1800
                                                               Date of Service
                                                                  (To be inserted by officer on copy left with defendant or other person)




                                       LASALLE COUNTY CIRCUIT CLERK
                                           OTTAWA, ILLINOIS 61350
    Case: 1:22-cv-01179 Document #: 1-1 Filed: 03/04/22 Page 10 of 35 PageID #:19

                                               SHERIFF'S FEES

                         Service and return

                         Miles

                         Total




                                                                 Sheriff of                              County

I certify that I served this summons on defendants as follows:

                                 (Check appropriate box, and complete information below)



❑     (a)--Individual defendants--personal):
           By leaving a copy and a copy of the complaint with each individual defendant personally.

      (b)--(Individual defendants--abode):
           By leaving a copy and a copy of the complaint at the usual place of abode of each individual
           defendant with a person of the family or a person residing there, of the age 13 years or
           upwards, informing that person of the contents and also by sending a copy of the summons
           in a sealed envelope with postage fully prepaid, addressed to each individual defendant at
           his/her usual place of abode.

      (c)--(Corporation defendants):
           By leaving a copy and a copy of the complaint with the registered agent, officer or agent
           of each defendant corporation.

      (d)--(Other service):



Name of Defendant                                              Name of Defendant

Name of Person                                                 Name of Person
Summons Given to                                               Summons Given to

Sex           Race            Approx. Age                      Sex             Race        Approx. Age

Place of Service                                               Place of Service




Date of Service                     Time                       Date of Service                 Time

Date of Mailing                                                Date of Mailing
  Case: 1:22-cv-01179 Document #: 1-1 Filed: 03/04/22 Page 11 of 35 PageID #:20
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                         UNITED STATES OF AMERICA
                    STATE OF ILLINOIS COUNTY OF LASALLE                                       I.EPE I stir F rIHl4TT f (T HT
                                                                                             LA, ULF: ctil-N7) ILLINolh
              IN THE CIRCUIT COURT OF THE 13TH JUDICIAL CIRCUIT

  STEVEN STEGMANN, individually and on
  behalf of all others similarly situated,

                          Plaintiff,

         v.                                             Case No.:

  PETSMART LLC

                          Defendant.
                                                                               2022LA000009
  and HONEYWELL INTERNATIONAL, INC

                          Respondent in Discovery



                                 CLASS ACTION COMPLAINT

         Plaintiff Steven Stegmann ("Stegmann" or "Plaintiff') brings this Class Action

Complaint ("Complaint") against Defendant Petsmart LLC ("Petsmart" or the "Defendant") for

its violations of the Biometric Information Privacy Act, 740 ILCS 14/1, et seq. ("BIPA").


                                   NATURE OF THE ACTION

        1.      Defendant Petsmart is a leading chain of more than 1,650 pet stores throughout

 North America. It is owned in substantial part by one of Europe's largest private equity groups,

 BC Partners.

        2.      Plaintiff worked at one of Petsmart's distribution centers in Illinois.

        3.      Petsmart operates its distribution centers through the use of biometrics and, in

 particular, the use of voiceprints and voice/speaker recognition technology called "Vocollect"

 (also known as the "Talkman").
   Case: 1:22-cv-01179 Document #: 1-1 Filed: 03/04/22 Page 12 of 35 PageID #:21



          4.       The Vocollect system is sold and managed by Respondent in Discovery Honeywell

  International, Inc.      Honeywell claims its Vocollect system (which it offers as part of its

  Honeywell Voice products) is used by more than one million users on a daily basis. A picture

  of it is depicted below:




              5.   Through use of Honeywell's Vocollect technology, Defendant creates workers'

  voiceprints, voice patterns or templates, which are then used to enable its workers to interact

  with Petsmart's warehouse technology to identify a worker.' As exampled in the Vocollect

  manual under "Training the Talkman Terminal to Recognize an Operator's Voice" it explains

  that: "The first time an operator uses a terminal in the Talkman system at your site, the operator

  must train the system to understand his or her speech by speaking the vocabulary words used at

  the particular site."2

         5.        Specifically, at the beginning of a warehouse worker's training, a worker is required




  Within the biometric industry, a voice template is also called a voiceprint and is considered biometrics. See e.g.
https://www.idmd.ai/voice-biometrics/ (stating that a "'voiceprint' is also called a 'voice template'" and comparing
it to a fingerprint in the field of biometrics).
2 https://fccid.io/MQOTT600-40300/User-ManuaURevised-User-Manual-266998. It does on to explain: "Always
speak in your normal tone of voice. You are training the Talkman terminal to recognize words you say in your
normal voice."
   Case: 1:22-cv-01179 Document #: 1-1 Filed: 03/04/22 Page 13 of 35 PageID #:22



  to provide Petsmart with personal speech patterns by reading a series of voice template words

  repeatedly into Petsmart's voice recognition software until a voiceprint or template of his voice

  is created, and the software is trained to understand his idiosyncratic way of speaking and to

  specifically identify and recognize the individual worker and his voice.

          7.    Honeywell markets its Vocollect product to companies by, for example,

  testimonials that explain the benefits of quick productivity and training: "once they do their voice

  template on the Vocollect system, I can have them up to speed in two or three days".3 Honeywell

  describes voice training as an application that creates a "voice template". In goes on to explain

  that:

               "All new technicians must train their voice templates (all the common words that
               they will use in the voice-directed workflow) in order to perform an inspection
               with the Honeywell Voice Maintenance & Inspection Solution. The RapidStart
               application automatically guides technicians through the template training
               process." 4

          8.   This voice template or voiceprint sets forth the worker's voice pattern, then

becomes part of that worker's data file which contains the worker's name, the employee number

and his voiceprint. The Vocollect manual states that during training, the user is asked to repeat

each word four time and then "the software then stores one version of each word in template files

for that operator."

          9.   The Vocollect system relies on data transmissions between a customer's host

system, Vocollect VoiceCheck, and devices worn by teclmicians performing inspections.

Vocollect describes the interaction as follows on its Internet page:




 https://www.youtube.com/watch?v=-NDUgHrgVCI
 https://help.honeywellaidc.com/Software/Inspection/en-
us/Content/Installation/UserTraining_RapidStart.htm?TocpathAmplementation%C2%A0Guide%7CUser
%20Options%7CVoiceCatalyst%20M%26I%C2%A0for/020PC%7C                 2
   Case: 1:22-cv-01179 Document #: 1-1 Filed: 03/04/22 Page 14 of 35 PageID #:23




             Host System
                                     I    VoiceCheck
                                                           I          VoiceCheck
                                   operations management             database with
                                                                      VoiceForms




                                              T
                                            Wireless
                                                       ti
                                            Network
         I                 !   `     ‘r


          VoiceConsole                                         Device or PC running
       device management                                         voice application




                                          Voi ceCon sole
                                            database




        10.      At work, the employee's number is put into a wireless device containing, among

 other things, Petsmart's voice recognition software, that works with a headset. The voice template

 portion of his operator data file then loads into the device from a central database known as a voice

 console, where operator data files, including biometric voiceprints, are stored.

        11.      Thereafter, the worker is sent orders from a central worker management computer

through a headset, and executes those orders by interacting and having a dialogue with the voice

recognition software which responds based upon the worker's voiceprint or template.

        12.      The software does this by breaking down and analyzing the real time version of the

worker's voice, essentially breaking it into small patterns, and comparing voice with the

characteristics of his voiceprint or voice template on which the voice recognition technology has

been trained, thus effectively recognizing and identifying the worker.
   Case: 1:22-cv-01179 Document #: 1-1 Filed: 03/04/22 Page 15 of 35 PageID #:24



        13.     The voiceprints are not merely voice "recordings" but biometric identifiers that are

 influenced by both the physical structure of an operator's vocal tract and the employee's specific

vocal behavioral characteristics. As a worker's voice changes in different environments, the

software adjusts the template to account for changes in the worker's voice, thereby changing the

voiceprint to further refine its ability to recognize and ability to identify the worker.

        14.     The use of biometric voiceprints are a material benefit to Defendant, because it

increases overall efficiency at distribution and fulfillment centers by identifying the individual's

voice patterns as they give commands.

        15.     A voiceprint or voice template, as used by the Vocollect system, is unique to each

individual employee and is part of the operator's stored data file that also contains name and

employee number and is therefore identified solely with that worker.

        16.     While Plaintiff and the Class members were required to provide their voiceprints

or voice templates for Petsmart's voice/speaker recognition technology, they were never first asked

for their consent, nor were they ever provided with a written policy regarding the use of their

biometric identifiers as required under BIPA.

        17.     Moreover, they were never told whether their voiceprints would be deleted from

the Defendant's systems or when they would be deleted.

        18.     While there may be certain benefits to using biometric technology in the workplace,

there are also serious risks. The voiceprints at issue here are unique, permanent biometric

identifiers associated with an employee which, if obtained by hackers, particularly since they are

part of the operator data file, can be manipulated and used to commit identity theft.

19.     Defendant's collection and storage of biometric identifiers and/or biometric information in

a central voice console, along with the rest of their workers' operator data files, which could be
  Case: 1:22-cv-01179 Document #: 1-1 Filed: 03/04/22 Page 16 of 35 PageID #:25



hacked or breached, exposed and continues to expose Plaintiff and Class members to serious and

irreversible privacy risks.

       20.     Recognizing the need to protect its citizens from situations like these, Illinois

enacted BIPA, specifically to regulate companies that collect and store Illinois citizens' biometric

identifiers, including voiceprints such that those at issue here.

       21.     Despite this law, Defendant, knowing full well what the law is respecting the

collection, possession and use of biometric identifiers, and voiceprints in Illinois, disregards its

workers' statutorily and common law protected privacy rights and unlawfully collects, captures,

possesses, stores, and uses their biometric identifiers in violation of the BIPA. Specifically,

Defendant has violated (and continues to violate) BIPA because it did not:

                    • Develop and issue a written policy governing the collection, maintenance

                    and destruction of its workers' voiceprints or biometric identifiers, failed to

                    comply with any written policy governing the destruction of such biometric

                    identifiers, and failed to timely destroy Plaintiff's and the Class' biometric

                    identifiers, specifically their voiceprint or voice templates;

                    • Properly inform Plaintiff and the Class members in writing of the specific

                    purpose and length of time for which their biometric identifiers or voiceprints

                    were being collected, stored, and used, as required by the BIPA;

                    • Provide a publicly available retention schedule and guidelines for

                    permanently destroying Plaintiffs and the Class' voiceprints, as required by

                    the BIPA; and

                    • Receive a written release from Plaintiff or Class members to collect,

                    capture, or otherwise obtain their biometric identifiers or voiceprints, as

                    required by the BIPA.
   Case: 1:22-cv-01179 Document #: 1-1 Filed: 03/04/22 Page 17 of 35 PageID #:26



        22.       Accordingly, this Complaint seeks an order: (i) declaring that Defendant's conduct

violates BIPA; (ii) requiring Defendant to cease the unlawful activities discussed herein; (iii)

awarding liquidated damages to Plaintiff and the Class; (iv) awarding Plaintiff and the Class

statutory damages for such violations; and (v) enjoining Defendant from its continued violations

of BIPA by, among other things, causing it to issue and comply with a written policy regarding

the collection, use, possession, storage and destruction of biometric data, and deleting from any of

its data bases and systems, including it central voice console, the biometric data of Plaintiff and

Class Members.

                                                PARTIES

            23.   Plaintiff is a natural person and was a citizen of the State of Illinois at the time his

voiceprint was taken and was employed at the "PetSmart DC36" distribution facility in Ottawa,

Illinois.

        24.       Defendant Petsmart is one of the largest pet retailers in the world.

                                       FACTUAL BACKGROUND

        25.       In the early 2000's, major national corporations started using Chicago and other

       locations in Illinois to test "new [consumer] applications of biometric-facilitated financial

transactions, including finger-scan technologies at grocery stores, gas stations, and school

cafeterias." 740 ILCS 14/5(b). Given its relative infancy, an overwhelming portion of the

public became weary of this then-growing, yet unregulated technology. See 740 ILCS 14/5.

        26.       In late 2007, a biometrics company called Pay By Touch—which provided major

retailers throughout the State of Illinois with fingerprint scanners to facilitate consumer

transactions—filed for bankruptcy. That bankruptcy was alarming to the Illinois Legislature

because suddenly there was a serious risk that millions of fingerprint records—which are unique

biometric identifiers that can be linked to people's sensitive financial and personal data— could
   Case: 1:22-cv-01179 Document #: 1-1 Filed: 03/04/22 Page 18 of 35 PageID #:27



 now be sold, distributed, or otherwise shared through the bankruptcy proceedings without

 adequate protections for Illinois citizens. The bankruptcy also highlighted the fact that most

 consumers who had used that company's fingerprint scanners were completely unaware that the

 scanners were not actually transmitting fingerprint data to the retailer who deployed the scanner,

 but rather to the now-bankrupt company, and that their unique biometric identifiers could now

 be sold to unknown third parties.

        27.     Recognizing the "very serious need [for] protections for the citizens of Illinois

 when it [came to their] biometric information," Illinois enacted BIPA in 2008. See Illinois

 House Transcript, 2008 Reg. Sess. No. 276; 740 ILCS 14/5. BIPA is an informed consent

 statute that achieves its goal by making it unlawful for a company to, among other things,

 "collect, capture, purchase, receive through trade, or otherwise obtain a person's or a customer's

 biometric identifiers or biometric information, unless it first: (1) informs the subject . . . in

 writing that a biometric identifier or biometric information is being collected or stored; (2)

 informs the subject . . . in writing of the specific purpose and length of term for which a

 biometric identifier or biometric information is being collected, stored, and used; and (3)

 receives a written release executed by the subject of the biometric identifier or biometric

 information. 740 ILCS 14/15(b) (emphasis added).

         28.    Biometric identifiers are defined to include a "voiceprint". See 740 ILCS 14/10.

         29.    Biometric information is separately defined to include any information, regardless

of how it is captured, converted, stored, or shared, based on an individual's biometric identifier

that is used to identify an individual. See id

         30.   Voice recordings that are analyzed and made into a template of someone's voice

such that it enables that person to interact with a particular software that then

recognizes that person and his/her voice are biometric identifiers.
      Case: 1:22-cv-01179 Document #: 1-1 Filed: 03/04/22 Page 19 of 35 PageID #:28



          31.   BIPA specifically provides that biometric identifiers, such as those at issue here,

or biometric information cannot be obtained without first obtaining a person's consent, and that

the retention and destruction of biometric identifiers or biometric information must be subject to

a written policy respecting their retention and destruction.

II.      Petsmart Violate the Biometric Information Privacy Act.

         32.    By the time BIPA passed through the Illinois Legislature in mid-2008, many

companies who had experimented with using biometric data as an authentication method stopped

doing so, at least for a time. That is because Pay By Touch's bankruptcy, described in Section I

above, was widely publicized and brought attention to consumers' discomfort with the use of

their biometric data.

         33.    Unfortunately, Defendant, despite knowing about BIPA and its requirements,

specifically continues to collect, store, and use its workers' biometric identifiers in violation of

the BIPA.

         34.    Defendant uses a version of Honeywell's Vocollect Solutions. Vocollect is a

voiceenabled, voice technology system, used often in warehouses, which allows warehouse

workers to engage in real-time communications with the Vocollect software. The Vocollect

software recognizes the individualized patterns of a worker's voice, and his peculiar behavioral

patterns by breaking down his voice into small samples, which the software then analyzes and

compares to the template on which it has been trained.

         34.    An operator data file is first created and then stored and consists of the worker's

individual identifiers, including name, employee number and the template or voiceprint of voice

that the employee created such that the voice template is identified with both the worker and

employee number through the data file.
   Case: 1:22-cv-01179 Document #: 1-1 Filed: 03/04/22 Page 20 of 35 PageID #:29



       35.     Specifically, when warehouse workers first begin working at one of Defendant's

warehouses or distribution facilities, they are required to engage in lengthy training sessions

during which they not only learn the system but create a personalized template of their voice and

train the system's software to recognize and identify their voice.

       36.     During this training, workers are required to repeatedly read long lists of certain

words into the system that allows the Vocollect software to create a template of the voice of that

particular worker and trains the voice recognition software to understand and identify the voice

of that particular worker.

       37.     The system then creates an individualized voice template that is stored in a central

host computer, known as a voice console, that contains the unique voice template of each

warehouse worker or picker as part of that operator's data file. The training exercise, which is

speaker dependent, essentially trains the system to recognize that worker's voice and verbal

patterns, which then culminate in the creation of a voiceprint or voice template for that worker.

       38.     The voiceprint or voice template, similar to a fingerprint, allows the system's

software to identify the worker's voice by comparing the voice on the template to the words

being spoken by the worker in real time so that the worker can interact with the software. As

Honeywell itself has indicated, the system is a speaker- dependent voice recognition technology.

It is dependent upon the measurement and analysis of a worker's unique physical behavioral

characteristics or voice pattern. It is a record of mechanical measurement of a worker's voice,

that allows the system to recognize the worker's voice and thus the worker, so that it can interact

with that worker.
   Case: 1:22-cv-01179 Document #: 1-1 Filed: 03/04/22 Page 21 of 35 PageID #:30



        39.   In the event that Petsmart's systems are breached or hacked, a hacker could have

access to the operator data profiles, including an operator's name and his associated voiceprint or

voice templates, from which it could manipulate those personalized voiceprints for its own

wrongdoing and misuse.

        40. Defendant intentionally, recklessly or negligently failed to inform its workers of

the complete purposes for which it collects their sensitive biometric identifiers or to whom the

identifier is disclosed, if at all, and failed to obtain their knowing consent to use their biometric

identifier.

        41.   Defendant intentionally, recklessly or negligently failed to timely provide its

workers with a written, publicly available policy identifying its retention schedule, and

guidelines for permanently destroying its workers' voiceprints when the initial purpose for

collecting or obtaining their voiceprints is no longer relevant, as required by BIPA. A worker

who leaves the company does so without any knowledge of when his biometric identifiers will

be removed from Defendant's databases -- or if they will ever be. Moreover, Defendant failed to

issue or comply with any written schedule.

        42. The Pay By Touch bankruptcy that catalyzed the passage of BIPA highlights why

conduct such as Defendant's is so dangerous. That bankruptcy spurred Illinois citizens and

legislators to realize a critical point: it is crucial for people to understand when providing

biometric identifiers who exactly is collecting it, who it will be transmitted to, for what purposes,

and for how long. But Defendant disregards these obligations, and instead unlawfully collects,

stores, and uses its employees' and workers' biometric identifiers without proper consent.

        43. Ultimately, Defendant disregards its employees' and workers' statutorily

protected privacy rights by violating the BIPA.
   Case: 1:22-cv-01179 Document #: 1-1 Filed: 03/04/22 Page 22 of 35 PageID #:31




                               FACTS SPECIFIC TO PLAINTIFF

       44. Plaintiff as a warehouse worker at Petsmart's Illinois-based distribution facility.

       45. Defendant required Plaintiff to spend time creating a voiceprint or voice template by

repeatedly reading words into the system.

       46. Defendant never informed Plaintiff of the specific limited purposes or length of

time for which it collected, stored, or used this biometric identifier. Similarly, Defendant never

informed Plaintiff of any biometric identifier retention policy it developed, or whether it will

ever permanently delete his biometric identifying information.

       47. Plaintiff never signed a written release allowing Defendant to collect or store a

voiceprint.

       48. Plaintiff has continuously and repeatedly been exposed to the risks and harmful

conditions created by Defendant's violations of BIPA alleged herein, including the risk that

Plaintiffs voiceprint or voice template will be obtained by hackers who could then misuse it to,

among other things, steal his identity and commit identity theft.

       49. Plaintiff and the Class now seek statutory damages under BIPA as compensation

for the injuries Defendant has caused as well as injunctive or other relief.



                               CLASS ALLEGATIONS

    50. Plaintiff brings this action on behalf a Class of similarly situated

individuals, defined as follows:

       All persons, within the applicable statute of limitations, who had their voiceprint
       collected, captured, received, otherwise obtained, or disclosed by Defendant in Illinois,
       without their consent, and/or who failed to have their voiceprint timely deleted.
   Case: 1:22-cv-01179 Document #: 1-1 Filed: 03/04/22 Page 23 of 35 PageID #:32




       51. The following people are excluded from the Class: (1) any judge presiding over this

Action and members of their families; (2) Defendant, Defendant's subsidiaries, parents,

successors, predecessors, agents, and any entity in which the Defendant or its parents have a

controlling interest and its current or former officers and directors; (3) persons who properly

execute and file a timely request for exclusion from the Class; (4) persons whose claims in this

matter have been finally adjudicated on the merits or otherwise released; (5) Plaintiff's counsel

and Defendant's counsel; and (6) the legal representatives, successors, and assigns of any such

excluded persons.

         52. Numerosity: The exact number of Class members is unknown to Plaintiff at this

time, but it is clear that individual joinder is impracticable. Defendant has collected, captured,

received, or otherwise obtained biometric identifiers from over 100 workers who fall into the

definition of the Class.     Ultimately, the Class members will be easily identified through

Defendant's records.


    53. Commonality and Predominance: There are many questions of law and fact

common to the claims of Plaintiff and the Class, and those questions predominate over any

questions that may affect individual members of the Class. Common questions for the Class

include, but are not necessarily limited to the following:


               a) whether Defendant collected, captured, or otherwise obtained Plaintiffs and

                    the Class's biometric identifiers in the form of voiceprints or voice templates;

               b) whether Defendant properly informed Plaintiff and the Class of its purposes

                    for collecting, using, and storing their biometric identifiers;
   Case: 1:22-cv-01179 Document #: 1-1 Filed: 03/04/22 Page 24 of 35 PageID #:33



               c) whether Defendant issued a written release (as defined in 740 ILCS 14/10) to

                    collect, use, and store Plaintiff's and the Class's biometric identifiers;

               d) whether Defendant developed a written policy, made available to the public,

                    establishing a retention schedule and guidelines for permanently destroying

                    biometric identifiers when the initial purpose for collecting or obtaining such

                    identifiers or information has been satisfied or within three years of their last

                    interaction, whichever occurs first;

               e) whether Defendant complies with any such written policy (if one exists); and

               t) whether Defendant used Plaintiff's and the Class' voice prints to identify them.



        54. Adequate Representation: Plaintiff will fairly and adequately represent and

protect the interests of the Class and has retained counsel competent and experienced in complex

litigation and class actions. Plaintiff has no interests antagonistic to those of the Class, and

Defendant has no defenses unique to Plaintiff. Plaintiff and his counsel are committed to

vigorously prosecuting this Action on behalf of the members of the Class and have the financial

resources to do so. Neither Plaintiff nor his counsel have any interest adverse to those of the

other members of the Class.


        55. Appropriateness: This class action is appropriate for certification because class

proceedings are superior to all others available methods for the fair and efficient adjudication of

this controversy and joinder of all members of the Class is impracticable. The damages suffered

by the individual members of the Class are likely to have been small relative to the burden and

expense of individual prosecution of the complex litigation necessitated by Defendant's

wrongful conduct.
   Case: 1:22-cv-01179 Document #: 1-1 Filed: 03/04/22 Page 25 of 35 PageID #:34



          56.      Thus, it would be virtually impossible for the individual members of the Class to

obtain effective relief from Defendant's misconduct. Even if members of the Class could sustain

such individual litigation, it would not be preferable to a class action because individual

litigation would increase the delay and expense to all parties due to the complex legal and factual

controversies presented in the Amended Complaint. By contrast, a class action presents far fewer

management difficulties and provides the benefits of single adjudication, economies of scale, and

comprehensive supervision by a single court. Economies of time, effort, and expense will be

fostered and uniformity of decisions will be ensured.


                                                COUNT I
                                     Violation of 740 ILCS 14/1, et seq
                                    (On Behalf of Plaintiff and the Class)

          57. Plaintiff incorporates the foregoing allegations as if fully set forth herein.

          58. BIPA requires companies to obtain informed written consent before

acquiring biometric identifiers from employees or workers, among others. Specifically,

BIPA makes it unlawful for any private entity to "collect, capture, purchase, receive through

trade, or otherwise obtain a person's or a customer's biometric identifiers or biometric

information, unless [the entity] first:

    (1)         informs the subject . . . in writing that a biometric identifier or biometric information
                is being collected or stored.
    (2)         informs the subject . . . in writing of the specific purpose and length of term for

                which a biometric identifier or biometric information is being collected, stored, and
                used; and

    (3)         receives a written release executed by the subject of the biometric identifier or
                biometric information...." 740 ILCS 14/15(b) (emphasis added).

          59. BIPA also mandates that companies in possession of biometric data
   Case: 1:22-cv-01179 Document #: 1-1 Filed: 03/04/22 Page 26 of 35 PageID #:35



establish and maintain a satisfactory biometric data retention (and--importantly--deletion)

policy. Specifically, those companies must: (i) make publicly available a written policy

establishing a retention schedule and guidelines for permanent deletion of biometric data (i.e.,

when the employment relationship ends); and (ii) actually adhere to that retention schedule and

actually delete the biometric information. See 740 ILCS 14/15(a).


       60. Defendant failed and continues to fail to comply with these BIPA mandates.

       61. Defendant is a corporation and thus qualifies as a "private entity" under the

BIPA. See 740 ILCS 14/10.



       62. Plaintiff and the Class are persons who had their "biometric identifiers"

collected by Defendant, as explained in detail in Section II. See 740 ILCS 14/10.

       63. Defendant violated 740 ILCS 14/15(b)(3) by failing to obtain written releases

from Plaintiff and the Class before it collected, used, and stored their biometric identifiers

and biometric information.

       64. Defendant violated 740 ILCS 14/15(b)(1) by failing to inform Plaintiff and the

Class in writing that their biometric identifiers were being collected and stored.


       65. Defendant violated 740 ILCS 14/15(b)(2) by failing to inform Plaintiff and the

Class in writing of the specific purpose and length of term for which their biometric identifiers

was being collected, stored and used.

       66. Defendant violated 740 ILCS 14/15(a) by failing to publicly provide a retention

schedule or guideline for permanently destroying its workers' biometric identifiers and biometric

information and by failing to comply with such a policy.

       67. By collecting, storing, and using Plaintiff's and the Class's biometric identifiers
  Case: 1:22-cv-01179 Document #: 1-1 Filed: 03/04/22 Page 27 of 35 PageID #:36



and biometric information as described herein, Defendant violated Plaintiff's and the Class' rights

to privacy in their biometric identifiers or biometric information as set forth in the BIPA. 740

ILCS 14/1, et. Seq.


       68. On behalf of themselves and the Class, Plaintiff seeks:

                      (A)     Injunctive and equitable relief as necessary to protect the interests

                      of the Plaintiff and the Class by requiring Defendant to comply with BIPA's

                      requirements for the collection, possession, storage, and use of biometric

                      identifiers as described herein;

                      (B)     Injunctive and equitable relief as necessary to protect the public

                      good and the public's right to the issuance of a written policy and to ensure

                      that Defendant complies with the written policy;

                      (C)     Statutory damages of $1,000 per violation for each of Defendant's

                      negligent violations of the BIPA pursuant to 740 ILCS 14/20(1) or $5,000

                      for Defendant's intentional or reckless violation of BIPA pursuant to

                      740ILCS 14/20(2); and

                      (D)     reasonable attorneys' fees and costs and expenses pursuant to 740

                      ILCS 14/20(3).

                                            COUNT II

       Plaintiff seeks discovery against Honeywell, Inc. as a Respondent in Discovery.



                                       PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of himself and the Class, respectfully requests that

the Court enter an Order:
Case: 1:22-cv-01179 Document #: 1-1 Filed: 03/04/22 Page 28 of 35 PageID #:37



         A.      Certifying this case as a class action on behalf of the Class defined above,

         appointing Plaintiff as representative of the Class, and appointing his counsel as

         Class Counsel;

         B.      Declaring that Defendant's actions, as set out above, violate the BIPA;


         C.      Awarding statutory damages of $1,000 for each of Defendant's violations

         of BIPA,    pursuant to 740 ILCS 14/20(1) and/or $5,000 for each of Defendant's

         violations of BIPA, pursuant to 740 ILCS 14/20(2);

         D.      Awarding injunctive and other equitable relief as is necessary to protect the

         interests of the Class, including an Order requiring Defendant to collect, store, and

         use biometric identifiers or biometric information in compliance with BIPA.

         E.      Awarding injunctive and other equitable relief as is necessary to protect the

         interests of the public in Defendant's issuance of a written policy governing its

         collection, maintenance and deletion of biometric identifiers;

         F.      Awarding Plaintiff and the Class their reasonable litigation expenses and

         attorneys' fees;

         G.      Awarding Plaintiff and the Class pre- and post judgment interest, to the

         extent allowable; and

         H.      Awarding such other and further relief as equity and justice may require.
   Case: 1:22-cv-01179 Document #: 1-1 Filed: 03/04/22 Page 29 of 35 PageID #:38




Dated: January 20, 2022                     Respectfully submitted,

                                            /s/ David Fish
                                            One of Plaintiffs Attorneys

                                            David Fish
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                                            Attorneysfor Plaintiff
   Case: 1:22-cv-01179 Document #: 1-1 Filed: 03/04/22 Page 30 of 35 PageID #:39
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                          UNITED STATES OF AMERICA
                     STATE OF ILLINOIS COUNTY OF LASALLE                                          'LEP K DF TH F. [MID'( IT ItJURT
                                                                                                 LASALLE COUNTY. ILLINOIS
               IN THE CIRCUIT COURT OF THE 13TH JUDICIAL CIRCUIT


  STEVEN STEGMANN, individually and on
  behalf of all others similarly situated,


                          Plaintiff,
                                                        Case No.: 2022LA9
          v.

  PETSMART LLC,
                          Defendant

  and HONEYWELL INTERNATIONAL, INC

                          Respondent in Discovery



                  PLAINTIFF'S MOTION FOR CLASS CERTIFICATION

       This is a proposed class action lawsuit for violations of the Biometric Information Privacy

Act ("the Act"). Steven Stegmann ("Stegmann" or "Plaintiff') alleges that Defendant violated the

Act by collecting, possessing, and transferring Plaintiffs and the proposed class's biometric

voiceprints, voice patterns or templates and information through Defendant's Vocollect

technology without following the Act's requirements. Class Action Complaint ("Compl.") ¶¶ 3-4,

24-28, 42-62. Plaintiff files this Motion for Class Certification under guidance from the Illinois

Supreme Court to avoid a mootness issue that may result from a tender to Named Plaintiff. See

Barber v. Am. Airlines, Inc., 948 N.E.2d 1042, 1045 (Ill. 2011) ("the important consideration in

determining whether a named representative's claim is moot is whether that representative filed a

motion for class certification prior to the time when the defendant made its tender.") (citations

omitted); Ballard RN Ctr, Inc. v. Kohll's Pharmacy & Homecare, Inc., 48 N.E.3d 1060, 1069 (Ill.

2015) ("Simply put, defendant's tender of relief, "partial" or otherwise, after plaintiff filed its class
                                                   1
   Case: 1:22-cv-01179 Document #: 1-1 Filed: 03/04/22 Page 31 of 35 PageID #:40



certification motion could not render moot any part of plaintiff's pending action") (footnote and

citation omitted).

       Named Plaintiff moves to certify the following class:'

       All persons who had their voiceprints, voice patterns collected, captured,
       received, otherwise obtained, or disclosed by the Defendant while in Illinois
       ("the Class").

The proposed Class meets the requirements for class certification under 735 ILCS 5/2-801

(numerosity, commonality, adequacy, and appropriateness).

       First, the Class is too numerous for joinder to be practical because it has more than 50

members. Compl. ¶ 31. As a result, the numerosity requirement in 735 ILCS 5/2-801(1) is satisfied.

Kim v. Sussman, No. 03 CH 07663, 2004 WL 3135348, at *2 (Ill. Cir. Ct. Oct. 19, 2004)

("Although there is no bright line test to determine numerosity, the Illinois courts generally follow

the reasoning that greater than 40 parties satisfies numerosity, but less than 25 people is

insufficient." (citation omitted).

        Second, there are common questions of law or fact that predominate over questions

affecting only individual members, including: whether Defendant required the Class to provide

their voiceprints, voice patterns; whether Defendant collected the Class's "biometric identifiers"

or "biometric information" under the Biometric Information Privacy Act; and whether Defendant

complied with the procedures in 740 ILCS 14/15(a), (b), and (d) of the Biometric Information

Privacy Act. ¶ 33. These uniform factual and legal determinations satisfy 735 ILCS 5/2-801(2).

See Ramirez v. Midway Moving & Storage, Inc., 880 N.E.2d 653, 658 (Ill. App. 1st Dist. 2007)




       Named Plaintiff reserves the right to amend this class definition and supplement this
motion based on information obtained in discovery.
                                               2
   Case: 1:22-cv-01179 Document #: 1-1 Filed: 03/04/22 Page 32 of 35 PageID #:41



(common questions of law and fact predominate where the potential class challenged the

Defendant's "uniform policy.").

       Third, Named Plaintiff will fairly and adequately protect the interests of the Class because

his claims are coextensive with those of the Class, he has no interests antagonistic to the Class,

and he is not subject to unique defenses. See Walczak v. Onyx Acceptance Corp., 850 N.E.2d 357,

371 (III. App. 2d Dist. 2006) (finding adequacy requirement in 735 ILCS 5/2-801(3) satisfied

where "plaintiffs [were] in the same position as all putative class members").

       Finally, a class action is an appropriate method for the fair and efficient adjudication of

this controversy because the lawsuit alleges that Defendant's common practices toward employees

violated the Act. "Where the first three requirements for class certification have been satisfied, the

fourth requirement may be considered fulfilled as well." Id.

       The United States District Courts for the Northern District of Illinois and the Northern

District of California certified class actions under Rule 23(b)(3) of the Federal Rules of Civil

Procedure in cases alleging violations of the Act. Alvarado v. Intl Laser Prods., Inc., Case No.

1:18-cv-7756, 2019 WL 333795, at *1 (N.D. Ill. June 19, 2019) (claims by employees alleging

violations of the Act based on the defendant's biometrics); In re Facebook Biometric Info. Privacy

Litig., 326 F.R.D. 535, 549 (N.D. Cal. 2018) (claims by Facebook users who alleged that the

defendant collected their biometric identifiers and information from their social media photos).

        WHEREFORE, for the foregoing reasons, Named Plaintiff requests that the Court:

       A. Enter and continue this motion and enter an order allowing expedited limited class
          certification discovery;

        B. Set a schedule for Named Plaintiff to file supplemental evidentiary materials and a
           supporting memorandum of law; and

        C. Such other relief as this Court deems appropriate under the circumstances.


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  Case: 1:22-cv-01179 Document #: 1-1 Filed: 03/04/22 Page 33 of 35 PageID #:42




Dated: January 20, 2022                     Respectfully submitted,

                                            is/David Fish
                                            One of Plaintiff's Attorneys

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                                            Attorneys for Plaintiff




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  Case: 1:22-cv-01179 Document #: 1-1 Filed: 03/04/22 Page 34 of 35 PageID #:43
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                           UNITED STATES OF AMERICA
                     STATE OF ILLINOIS COUNTY OF LASALLE
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               IN THE CIRCUIT COURT OF THE 13TH JUDICIAL CIRCUIT
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  STEVEN STEGMANN individually and on
  behalf of all others similarly situated,

                          Plaintiff,

          v.                                          Case No.: 2022LA9

  PETSMART LLC.

                                                      Judge Cantlin
                          Defendant.                  Meeting ID: 933 0646 1409
                                                      Password: CD!8M#dG4
  and HONEYWELL INTERNATIONAL, INC

                       Respondent in Discovery


                                       NOTICE OF MOTION

   PLEASE TAKE NOTICE that on March 23, 2022 at 10:30 am, or as soon thereafter as
counsel can be heard, I shall appear before the Honorable Judge Cantlin via Zoom in Courtroom
204 of the LaSalle County Circuit Court, located at 707 E. Etna Rd., Ottawa, Illinois to present the
Plaintiff's Motion for Class Certification a copy of which is attached hereto and hereby served
upon you.

Dated: January 14, 2021
                                              Respectfully submitted,

                                             STEVEN STEGMANN,
                                             individually and on behalf of all others similarly
                                             situated.

                                              By:    /s/ David Fish
                                                     One of its Attorneys
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Case: 1:22-cv-01179 Document #: 1-1 Filed: 03/04/22 Page 35 of 35 PageID #:44




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